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5
     Attorneys for Defendant
6    Ms. Ramirez-Raudales
7
                            UNITED STATES DISTRICT COURT
8
                           SOUTHERN DISTRICT OF CALIFORNIA
9
                            (HONORABLE RUBEN B. BROOKS)
10
     UNITED STATES OF AMERICA,               CASE NO.: 18MJ2085-RBB
11
                       Plaintiff,            Hon. Ruben B. Brooks
12
           v.                                NOTICE OF LODGING OF
13                                           DVD AS EXHIBIT TO DEFENDANT’S
     MARBEL RAMIREZ-RAUDALES,                REPLY     TO    GOVERNMENT’S
14                                           RESPONSE TO MS. RAMIREZ’S
                       Defendant.            MOTION TO DISMISS
15
16   TO: ADAM BRAVERMAN, UNITED STATES ATTORNEY; AND
         DAVIS M. LOOP, ASSISTANT UNITED STATES ATTORNEY.
17
18         Ms. Marbel Ramirez-Raudales, the accused in this case, by and through her
19   attorneys, Eric S. Fish and Federal Defenders of San Diego, Inc., provides notice that
20   she has lodged with the Court a copy of the DVD of her interrogation. The DVD is
21   lodged as an exhibit to the Defendant’s Reply to Government’s Response to
22   Ms. Ramirez’s Motion to Dismiss filed on May 30, 2018, which is contained at Docket
23   No. 38.
24                                           Respectfully submitted,
25
     Dated: May 30, 2018                      s/ Eric S. Fish
26                                           ERIC S. FISH
                                             Federal Defenders of San Diego, Inc.
27
                                             Attorneys for Ms. Ramirez-Raudales
28
Case 3:18-mj-02071-RBB-GPC Document 39 Filed 05/30/18 PageID.263 Page 2 of 2



  1                             CERTIFICATE OF SERVICE
  2         Counsel for the Defendant certifies that the foregoing pleading has been
  3   electronically served on the following parties by virtue of their registration with the
  4   CM/ECF system:
  5          Davis M. Loop
             Assistant U.S. Attorney
  6
  7
  8                                              Respectfully submitted,
  9   Dated: May 30, 2018                         s/ Eric S. Fish
                                                 ERIC S. FISH
 10                                             Federal Defenders of San Diego, Inc.
                                                Attorneys for Ms. Ramirez-Raudales
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